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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                            :       CHAPTER 13
Ira Murray

               DEBTORS                           :        BKY. NO. 17-12176AMC13

              ORDER DISMISSING CHAPTER 13 CASE AND SETTING DEADLINE
            FOR APPLICATIONS FOR ALLOWANCE OF ADMINISTRATIVE EXPENSES

      AND NOW, consideration of the Motion to Dismiss Case filed by William C. Miller,
Standing Trustee (“the Trustee”), and after notice and hearing, it is hereby ORDERED
that:

1.       This chapter 13 bankruptcy case is DISMISSED.

2.    Counsel for the Debtor shall file a master mailing list with the Clerk of the
Bankruptcy Court if such has not been previously filed.

3.       Any wage orders previously entered are VACATED.

4.     Pursuant to 11 U.S.C. §349(b)(3), the undistributed chapter 13 plan payments in
the possession of the Trustee shall not revest in the entity in which such property was
vested immediately before the commencement of the case. All other property of the
estate shall revest pursuant to 11 U.S.C. §349(b)(3).

5.      All applications for allowance of administrative expense (including applications
for allowance of professional fees) shall be filed within twenty (20) days of the entry of
this Order.

6.      Counsel for the Debtor shall serve this Order by first class mail, postage prepaid,
on all interested parties within (5) days of the entry of this Order. Counsel shall file a
Certification of Service confirming that such service has been affected within fifteen
(15) days of the entry of this Order.

7.                                 January 9
       A hearing shall be held on ______________________________,           11:00 a.m.
                                                                    2018 at ____________,
in Bankruptcy Court No. 2, U.S. Courthouse, 901 Market Street, Philadelphia, PA to
consider the application.

                                          By the Court:


       November 29, 2017
Date: ___________________                 _______________________________
                                          Hon. ASHELY M. CHAN
